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                            EXHIBIT A
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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                                  MDL No. 2570
 ___________________________________________

                                   EXHIBIT A TO MOTION TO DISMISS
                                        PLAINTIFF SCHEDULE

                   Plaintiff                Cause Number    PPS Due        No PPS       Exhibit
                                                            Date           Letter       B Sub-
                                                                           Sent Date    Exhibit
                                                                                        Number

               1   Wynkoop, Shannon         1:16-cv-03406      2/15/2017    1/24/2018         7
               2   Ryon, Levi A.            1:16-cv-06038      8/29/2017    1/24/2018        16
               3   Ryon, Lloyd D.           1:16-cv-06039       9/5/2017    1/24/2018        16
               4   Gilbert, Ashley          1:16-cv-06049       1/6/2017    1/24/2018        21
                   Walton, Koula M.         1:17-cv-00811      4/17/2017    1/24/2018
               5   [ESTATE]                                                                   7
               6   Allen, Ivy               1:17-cv-00858      4/19/2017    1/24/2018        17
               7   Schoby, Louise           1:17-cv-01020       5/3/2017    1/24/2018         6
               8   Alger, Lessie            1:17-cv-01023       5/3/2017    1/24/2018         6
               9   Boatwright-Woods, Mary   1:17-cv-01449       6/5/2017    1/24/2018        11
              10   Kenyon, Patrick          1:17-cv-01479       6/5/2017    1/24/2018        11
              11   Denton, Archie           1:17-cv-01516       6/8/2017    1/24/2018        12
              12   Moore, Kelly             1:17-cv-01634      6/19/2017    1/24/2018         6
              13   Ramsey, Lonnie           1:17-cv-01635      6/19/2017    1/24/2018         6
              14   Juniper, Dana            1:17-cv-01706       7/7/2017    1/24/2018        19
              15   Williams, Amy            1:17-cv-01790      6/30/2017    1/24/2018        19
              16   Howard, Elaine Y.        1:17-cv-01936      8/10/2017    1/24/2018        13
              17   Kinney, Tiffany L.       1:17-cv-01947      8/10/2017    1/24/2018        13
              18   Meyer, Lisa D.           1:17-cv-01980      8/21/2017    1/24/2018        13
              19   Schaefer, Kristy M.      1:17-cv-02012      8/11/2017    1/24/2018        13
              20   Teague, Ashley J.        1:17-cv-02024      8/11/2017    1/24/2018        13
              21   Garner, Nancy            1:17-cv-02055      8/14/2017    1/24/2018        13
              22   Gardner, Ebony           1:17-cv-02073      8/14/2017    1/24/2018        13
              23   Dort, Scott E.           1:17-cv-02081      8/14/2017    1/24/2018        13
              24   Sollo, Florence          1:17-cv-02269      7/31/2017    1/24/2018        10



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                   Perkovich, Jennifer and   1:17-cv-02315     8/7/2017   1/24/2018
              25   Paul                                                                8
              26   Lamprey, Melissa          1:17-cv-02323     8/7/2017   1/24/2018    6
              27   McCoy, Nasir              1:17-cv-02324     8/7/2017   1/24/2018    6
              28   Furney, Sherri            1:17-cv-02326     8/7/2017   1/24/2018    6
              29   Mullin, James W.          1:17-cv-02496    8/23/2017   1/24/2018   20
              30   Lane, Cherlnell           1:17-cv-02531    8/28/2017   1/24/2018   20
              31   Aleem, Khayriyyah         1:17-cv-02533    8/28/2017   1/24/2018   20
              32   Anderson, Timothy         1:17-cv-02667     9/6/2017   1/24/2018   15
                   De Leonard, Shirley and   1:17-cv-02679     9/7/2017   1/24/2018
              33   Richard                                                            15
              34   Bullock, Joanne           1:17-cv-02687     9/7/2017   1/24/2018   12
              35   Rowan, Anna               1:17-cv-02784    9/14/2017   1/24/2018   20
              36   Fitzgerald, Timothy P.    1:17-cv-02927    9/25/2017   1/24/2018   20
              37   Babcock, Gary C.          1:17-cv-02932    9/25/2017   1/24/2018   20
              38   Clark, Lorraine           1:17-cv-03049    10/2/2017   1/24/2018    6
              39   Myers, Russell            1:17-cv-03064    10/2/2017   1/24/2018    6
              40   Sutton, Jimmy Lee         1:17-cv-03111    10/7/2017   1/24/2018   12
              41   Belloma, Richard A.       1:17-cv-03127   10/23/2017   1/24/2018   13
              42   Burton, Fredrick T.       1:17-cv-03132   10/23/2017   1/24/2018   13
              43   Wallace, Daron            1:17-cv-03155    10/9/2017   1/24/2018   12
              44   Hooks, Alice F.           1:17-cv-03165   10/23/2017   1/24/2018   13
              45   Peterson, Craig           1:17-cv-03178   10/23/2017   1/24/2018   13
              46   Posy, Mirlande            1:17-cv-03223   11/10/2017   1/24/2018   13
              47   Randle, Casell            1:17-cv-03225   11/10/2017   1/24/2018   13
              48   Smith, Richard J.         1:17-cv-03228    10/9/2017   1/24/2018   13
              49   Williams, Cathey M.       1:17-cv-03242   11/13/2017   1/24/2018   13
              50   Young, Robin S.           1:17-cv-03243   11/13/2017   1/24/2018   13
              51   Harlow, Wanda             1:17-cv-03270   10/16/2017   1/24/2018   12
              52   Parker, Sandra            1:17-cv-03277   10/16/2017   1/24/2018   12
              53   Wood, Margaret            1:17-cv-03317    11/3/2017   1/24/2018   15
              54   Pantone, Guy              1:17-cv-03331   10/19/2017   1/24/2018   12
              55   Anderson, Leonard         1:17-cv-03340   10/20/2017   1/24/2018   15
              56   Aberman, Brenda           1:17-cv-03341   10/20/2017   1/24/2018   15
              57   Bailey, Misty D.          1:17-cv-03376   10/23/2017   1/24/2018   12
              58   Corley, Omel              1:17-cv-03379   10/23/2017   1/24/2018   12
              59   Miller, Merri             1:17-cv-03392   10/23/2017   1/24/2018   12
              60   Bailey, Monique           1:17-cv-03396   10/23/2017   1/24/2018   12
              61   Davis, Jessie             1:17-cv-03403   10/23/2017   1/24/2018   12
              62   Ranson, Elizabeth         1:17-cv-03407   10/23/2017   1/24/2018   12
              63   Walters, Patricia         1:17-cv-03409   10/23/2017   1/24/2018   12
              64   Myers, Sebrina            1:17-cv-03438   10/26/2017   1/24/2018   12


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             65    Edgington, Anna          1:17-cv-03452   10/27/2017   1/24/2018   12
             66    Jackson, Felicia         1:17-cv-03462   10/27/2017   1/24/2018   12
             67    Reaves, Andrew           1:17-cv-03463   10/27/2017   1/24/2018   12
             68    Sheals, Robert           1:17-cv-03464   10/27/2017   1/24/2018   12
             69    Clayton, Pamela          1:17-cv-03468   10/27/2017   1/24/2018   12
             70    Redd, Cynthia            1:17-cv-03476   10/30/2017   1/24/2018   12
             71    Gray, Lee D.             1:17-cv-03486    11/2/2017   1/24/2018   12
             72    Stokely, Kristen         1:17-cv-03527    11/1/2017   1/24/2018    1
             73    Farris, Angela           1:17-cv-03555   12/29/2017   1/24/2018    4
             74    Holmes, Angelee          1:17-cv-03557    11/6/2017   1/24/2018   12
             75    Mitchell, Sarah          1:17-cv-03566    11/6/2017   1/24/2018   12
             76    Champion, John B.        1:17-cv-03576    11/6/2017   1/24/2018   12
             77    Wood, Ronald F.          1:17-cv-03586    11/6/2017   1/24/2018   12
             78    Williams, Daniel C.      1:17-cv-03587    11/6/2017   1/24/2018   12
             79    Copeland, Marquita       1:17-cv-03592    11/6/2017   1/24/2018   12
             80    Marks, Mary E.           1:17-cv-03593    11/6/2017   1/24/2018   12
             81    Sufka, Reuben            1:17-cv-03594    11/6/2017   1/24/2018   12
             82    Thomas, Cheryl           1:17-cv-03595    11/6/2017   1/24/2018   12
             83    Allen, Catherine         1:17-cv-03597    11/6/2017   1/24/2018    6
             84    Hampton, Linda           1:17-cv-03599    11/6/2017   1/24/2018    6
             85    Cooper, Chris            1:17-cv-03600    11/6/2017   1/24/2018    6
             86    Redman, Kathleen         1:17-cv-03602    11/6/2017   1/24/2018    6
             87    Turner, Larry            1:17-cv-03603    11/6/2017   1/24/2018    6
             88    Walter, Nancy            1:17-cv-03604    11/6/2017   1/24/2018    6
             89    Folts, Terry             1:17-cv-03618    11/9/2017   1/24/2018   12
             90    Stone, Cathy J.          1:17-cv-03621    11/9/2017   1/24/2018   12
             91    Worthington, Tina        1:17-cv-03622   10/10/2017   1/24/2018   12
             92    Sunnenberg, Kathryn S.   1:17-cv-03629   11/10/2017   1/24/2018   12
             93    Coats, Rosalie A.        1:17-cv-03635   11/10/2017   1/24/2018   12
             94    Goodman, Valerie         1:17-cv-03654   11/13/2017   1/24/2018   12
             95    Harris, Douglas          1:17-cv-03657   11/13/2017   1/24/2018   12
             96    Estes, Betty             1:17-cv-03683   11/13/2017   1/24/2018   12
             97    Miele, Laura             1:17-cv-03688   11/13/2017   1/24/2018   12
             98    Fisher, Mary J.          1:17-cv-03695   11/15/2017   1/24/2018   12
             99    Vazquez, Nixzaliz        1:17-cv-03699   12/15/2017   1/24/2018   13
            100    Vetter, Diana            1:17-cv-03713   12/15/2017   1/24/2018   13
            101    Davis, Terry L. Jr.      1:17-cv-03714   12/15/2017   1/24/2018   13
            102    Thomas, Robert Jr.       1:17-cv-03719   12/15/2017   1/24/2018   13
            103    Seay, Richard V.         1:17-cv-03729   12/16/2017   1/24/2018   13
            104    Knox, Harold E.          1:17-cv-03732   12/16/2017   1/24/2018   13
                   Phillippi, William R.    1:17-cv-03733   11/16/2017   1/24/2018
            105 [ESTATE]                                                             12

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            106    Shook, Carol              1:17-cv-03754   11/17/2017   1/24/2018   12
            107    Jenville, Gloria          1:17-cv-03756   11/17/2017   1/24/2018   12
            108    Polk, Lewis               1:17-cv-03766   12/18/2017   1/24/2018   13
            109    Kemokai, Musu             1:17-cv-03769   11/17/2017   1/24/2018   13
            110    Ryans, Freddie            1:17-cv-03774   12/19/2017   1/24/2018   13
            111    Noll, Robert E.           1:17-cv-03776   12/19/2017   1/24/2018   13
            112    Hudson, Robert A.         1:17-cv-03778   12/19/2017   1/24/2018   13
            113    De Magana, Rosa Serrano   1:17-cv-03796   12/19/2017   1/24/2018   13
            114    Spruill, Henry            1:17-cv-03806   11/20/2017   1/24/2018   12
            115    Stewart, Monica           1:17-cv-03809   11/20/2017   1/24/2018   12
            116    King, Dorothy V.          1:17-cv-03810   12/19/2017   1/24/2018   13
            117    Johnson, Phyllis          1:17-cv-03813   11/20/2017   1/24/2018   12
            118    Dupre, Gerard R.          1:17-cv-03814   12/19/2017   1/24/2018   13
            119    Nigh, Glendora            1:17-cv-03815   11/20/2017   1/24/2018   12
            120    Kiggins, Kim              1:17-cv-03836   11/22/2017   1/24/2018   12
            121    Moore, Walter             1:17-cv-03838   11/22/2017   1/24/2018   12
            122    Crawford, Stephen         1:17-cv-03840   11/22/2017   1/24/2018   12
            123    King, Charisse            1:17-cv-03841   11/22/2017   1/24/2018   13
            124    Conlon, Kathy F.          1:17-cv-03844   11/22/2017   1/24/2018   13
            125    Phillips, Robert L.       1:17-cv-03847   11/23/2017   1/24/2018   13
            126    Groves, Terron            1:17-cv-03849   11/23/2017   1/24/2018   13
            127    Dellagatta, Donnie        1:17-cv-03866   11/23/2017   1/24/2018   12
            128    Morin, Norman J.          1:17-cv-03903   11/24/2017   1/24/2018   13
            129    Myers, Derrick            1:17-cv-03908   11/24/2017   1/24/2018   13
            130    Horton, Teresa            1:17-cv-03930   11/27/2017   1/24/2018   13
            131    McConito, Dorothy         1:17-cv-03931   11/27/2017   1/24/2018   13
            132    Barnwell, Arthur Sr.      1:17-cv-03932   11/27/2017   1/24/2018   13
            133    Echevarria, Jose          1:17-cv-03933   11/27/2017   1/24/2018   13
            134    Palmer, Kayla             1:17-cv-03958   11/29/2017   1/24/2018   12
            135    Foote, Tammara            1:17-cv-03973   11/29/2017   1/24/2018    9
            136    Elamine, Kathy            1:17-cv-03991   11/30/2017   1/24/2018   12
            137    Pitts, Earline            1:17-cv-03992   11/30/2017   1/24/2018   12
            138    Calloway, Loretta         1:17-cv-04017    12/1/2017   1/24/2018   12
            139    Phelps, Maurice           1:17-cv-04020    12/1/2017   1/24/2018   12
            140    Rettger, Michael A.       1:17-cv-04025     1/9/2018   1/24/2018    3
            141    Baker, Jason              1:17-cv-04026    12/1/2017   1/24/2018    6
            142    Steed, Cheryl             1:17-cv-04041    12/4/2017   1/24/2018   12
            143    Bowman, Rebecca           1:17-cv-04042    12/4/2017   1/24/2018   12
            144    Spaght, Melvin E.         1:17-cv-04047    12/4/2017   1/24/2018   13
            145    Trujillo, Michael         1:17-cv-04050    12/4/2017   1/24/2018   13
            146    Gerber, Edward D.         1:17-cv-04051    12/4/2017   1/24/2018   13


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            147    Hale, Michael          1:17-cv-04052    12/4/2017   1/24/2018   13
            148    Black, Lowan T.        1:17-cv-04056    12/4/2017   1/24/2018   13
            149    Bender, Judy E.        1:17-cv-04085    12/4/2017   1/24/2018   13
            150    Perry, Dolly           1:17-cv-04088    12/4/2017   1/24/2018    6
            151    Fissell, Deborah       1:17-cv-04089    12/4/2017   1/24/2018    6
            152    Williams, Christie     1:17-cv-04090    12/4/2017   1/24/2018    6
            153    Shaikh, Nisar          1:17-cv-04092    12/4/2017   1/24/2018    6
            154    Cleek, Michael         1:17-cv-04093    12/4/2017   1/24/2018    6
            155    Dumont, Paul           1:17-cv-04094    12/4/2017   1/24/2018    6
            156    Cordar, Johnny         1:17-cv-04096    12/4/2017   1/24/2018    6
            157    Hanf, Janie            1:17-cv-04100    12/4/2017   1/24/2018    6
            158    Lazenby, Mary          1:17-cv-04112    12/6/2017   1/24/2018    1
            159    Ballaine, Colten       1:17-cv-04115    12/6/2017   1/24/2018   13
            160    Averett, Lloyd         1:17-cv-04116    12/6/2017   1/24/2018   13
            161    Keenan, Carol          1:17-cv-04118    12/6/2017   1/24/2018   13
            162    Hensley, Kay M.        1:17-cv-04120    12/6/2017   1/24/2018   13
            163    Hairston, Harry D.     1:17-cv-04130    12/7/2017   1/24/2018   13
            164    Matson, Chad E.        1:17-cv-04131    12/7/2017   1/24/2018   13
            165    Womack, Robert E.      1:17-cv-04132    12/7/2017   1/24/2018   13
            166    Hawk, Derek A.         1:17-cv-04134    12/7/2017   1/24/2018   13
            167    Wilson, Randall Lee    1:17-cv-04137    12/7/2017   1/24/2018   13
            168    Bagley, Alfred         1:17-cv-04138    12/7/2017   1/24/2018   13
            169    Anthony, Joe           1:17-cv-04139    12/7/2017   1/24/2018   13
            170    Whitson, Sylvia        1:17-cv-04157    12/8/2017   1/24/2018   12
            171    Ammons, Elvid H.       1:17-cv-04176   12/11/2017   1/24/2018   13
            172    Heinzel, Kurt W.       1:17-cv-04178   12/11/2017   1/24/2018   13
            173    Behm, Clilfford        1:17-cv-04179   12/11/2017   1/24/2018   13
            174    Scheeringa, David M.   1:17-cv-04180   12/11/2017   1/24/2018   13
            175    Sigur, Evelyn J.       1:17-cv-04182   12/11/2017   1/24/2018   13
            176    Miller, Suzanne        1:17-cv-04183   12/11/2017   1/24/2018   13
            177    Pitts, Eileen          1:17-cv-04186   12/11/2017   1/24/2018   13
            178    Ingram, Patrick        1:17-cv-04189   12/11/2017   1/24/2018   13
            179    Barton, John J. III    1:17-cv-04190   12/11/2017   1/24/2018   13
            180    Smith, Charlotte A.    1:17-cv-04192   12/11/2017   1/24/2018   13
            181    Frey, Steve            1:17-cv-04197     1/8/2018   1/24/2018    3
            182    Nancarrow, Tracey      1:17-cv-04211   12/13/2017   1/24/2018   12
            183    Lewis, Carolyn         1:17-cv-04223   12/13/2017   1/24/2018   13
            184    Harris, Charlie M.     1:17-cv-04224   12/13/2017   1/24/2018   13
            185    Bishop, Charles L.     1:17-cv-04225   12/13/2017   1/24/2018   13
            186    Jones, Alicia M.       1:17-cv-04226   12/13/2017   1/24/2018   13
            187    Fletcher, Donnie L.    1:17-cv-04227   12/13/2017   1/24/2018   13


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            188    Chatmon, Anthony B.       1:17-cv-04228   12/13/2017   1/24/2018   13
            189    Carpenter, Conrad F.      1:17-cv-04230   12/13/2017   1/24/2018   13
            190    Mathias, Lee E.           1:17-cv-04232   12/14/2017   1/24/2018   13
            191    Geissinger, Patricia A.   1:17-cv-04234   12/14/2017   1/24/2018   13
            192    Hamersly, Timothy M.      1:17-cv-04235   12/14/2017   1/24/2018   13
            193    Cuicio, Sam               1:17-cv-04236   12/14/2017   1/24/2018   13
            194    Berry, Timothy D.         1:17-cv-04237   12/14/2017   1/24/2018   13
            195    Ball, James M.            1:17-cv-04246   12/14/2017   1/24/2018   13
            196    Waggle, Letha R.          1:17-cv-04248   12/14/2017   1/24/2018   13
            197    Centers, Garland          1:17-cv-04249   12/14/2017   1/24/2018   13
            198    Donnely, Stephen M.       1:17-cv-04250   12/14/2017   1/24/2018   13
            199    Brown, Kimberly T.        1:17-cv-04251   12/14/2017   1/24/2018   13
            200    Bryant, Beverly H.        1:17-cv-04252   12/14/2017   1/24/2018   13
            201    McDowell, Steven          1:17-cv-04254   12/14/2017   1/24/2018   13
            202    Dwebi, Linda J.           1:17-cv-04256   12/14/2017   1/24/2018   13
                   Kleinschmidt, Timothy     1:17-cv-04259   12/14/2017   1/24/2018
            203    A.                                                                 13
            204    Hollis, Eddie C.          1:17-cv-04290   12/15/2017   1/24/2018   13
            205    Rosales, Kelly D.         1:17-cv-04305   12/18/2017   1/24/2018   13
            206    Embrey, Tammy J.          1:17-cv-04308   12/18/2017   1/24/2018   13
            207    Brown, Steve              1:17-cv-04317   12/18/2017   1/24/2018   13
            208    Oltromonto, Anthony       1:17-cv-04352   12/21/2017   1/24/2018   12
            209    Taylor, Sharon            1:17-cv-04353   12/21/2017   1/24/2018   12
            210    Dwyer-Coco, Patricia      1:17-cv-04357   12/22/2017   1/24/2018   12
            211    Sherod, Annie             1:17-cv-04360   12/22/2017   1/24/2018   12
            212    Brown, Ezill              1:17-cv-04389   12/27/2017   1/24/2018   12
            213    Stovall, Keyonna          1:17-cv-04390   12/27/2017   1/24/2018   12
            214    Jones, Charlie            1:17-cv-04391   12/27/2017   1/24/2018   12
            215    Everly, Gary              1:17-cv-04400   12/27/2017   1/24/2018    6
            216    McClure, Lisa             1:17-cv-04436     1/2/2018   1/24/2018   13
                   Crone, Charleen M. and    1:17-cv-04451     1/2/2018   1/24/2018
            217    Donald L.                                                          14
            218    Markham, Currie           1:17-cv-04482     1/3/2018   1/24/2018    5
            219    Skinner, Shelia M.        1:17-cv-04516     1/4/2018   1/24/2018   13
            220    Butske, David             1:17-cv-04518     1/4/2018   1/24/2018   12
            221    Hall, Stephen E.          1:17-cv-04520     1/4/2018   1/24/2018   12
            222    Levy, Charles             1:17-cv-04521     1/4/2018   1/24/2018   12
            223    Young, Roger              1:17-cv-04522     1/4/2018   1/24/2018   12
            224    Shelley, Ida V.           1:17-cv-04528     1/5/2018   1/24/2018   13
            225    Roper, Martin W.          1:17-cv-04529     1/5/2018   1/24/2018   13
            226    Gettman, Barbara          1:17-cv-06064     4/7/2017   1/24/2018    2
            227    Holdgreve, Dale           1:17-cv-06064     4/7/2017   1/24/2018    2


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            228 Johnson, Henry              1:17-cv-06064    4/7/2017   1/24/2018    2
            229 Livingston, Detrice         1:17-cv-06064    4/7/2017   1/24/2018    2
            230 Ferriso, Frederick          1:17-cv-06069   6/30/2017   1/24/2018   18
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            233    Porter, George N.        1:17-cv-06069   6/30/2017   1/24/2018   18
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            235    Mayberry, Walter         1:17-cv-03564   11/6/2017   1/24/2018   12




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